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                          SO ORDERED: May 23, 2011.




                          ______________________________
                          Basil H. Lorch III
                          United States Bankruptcy Judge




                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF INDIANA
                              NEW ALBANY DIVISION


   IN RE                              )
                                      )
   EASTERN LIVESTOCK CO., LLC, et al. )             CASE NO. 10-93904-BHL-11
                                      )
             Debtor.                  )             CHAPTER 11
                                      )

     ORDER GRANTING REQUEST OF GREENEBAUM DOLL & MCDONALD
    PLLC FOR PAYMENT OF FEES AND EXPENSES PURSUANT TO 11 USC §§
     503(B)(3)(A) AND 503(B)(4) AND RULE 2016 OF THE FEDERAL RULES OF
                          BANKRUPTCY PROCEDURE

           This matter coming before the Court on the Request (the “Request”) of

   Greenebaum Doll & McDonald PLLC (“Greenebaum”) for payment of fees and expenses

   pursuant to 11 USC §§ 503(b)(3)(a) and 503(b)(4), and this Court having reviewed the

   Request and all pleadings related thereto, having conducted a hearing on the Request,

   having found that all necessary and appropriate notice of the Request was given and

   being otherwise sufficiently advised;
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              IT IS THEREFORE ORDERED that the Request1 is GRANTED in its entirety;

   and

              IT IS FURTHER ORDERED that the Petitioning Fees and Expenses, in the

   amount of $77,841.76, are hereby ALLOWED as administrative expenses; and

              IT IS FINALLY ORDERED that pursuant to an agreement with the Trustee, the

   Debtor shall pay eighty percent (80%) of the Petitioning Fees and Expenses to

   Greenebaum within fourteen (14) days from the entry of this Order.


                                                              ###


   Seen and Agreed To:


   /s/ John W. Ames
   John W. Ames
   GREENEBAUM DOLL & MCDONALD PLLC
   101 South Fifth Street, Suite 3500
   Louisville, Kentucky 40402
   Phone: (502) 587-3746
   Facsimile: (502) 587-3695
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   /s/ Terry E. Hall
   Terry E. Hall
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   300 N. Meridian St., Suite 2700
   Indianapolis, Indiana 46204
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   E-mail: terry.hall@bakerd.com

   COUNSEL FOR DEBTOR



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   1
       Capitalized terms not defined in this Order shall have the meaning given them in the Request.


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                                       3
